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                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION
                                  www.flmb.uscourts.gov
In re:

CHAIM LEVILEV,                                                Case No. 6:24-bk-03843-LVV
                                                              Chapter 7

                       Debtor.
__________________________________/

          UNOPPOSED MOTION TO EXTEND TIME TO FILE AN
  ADVERSARY COMPLAINT OBJECTING TO DISCHARGE UNDER 11 U.S.C. §727

         Chapter 7 Trustee, Gene T. Chambers (“Trustee”), by and through the undersigned Counsel,

moves for herself and on behalf of the Office of the United States Trustee, to extend time to file an

adversary complaint objecting to discharge under 11 U.S.C. §Section 727, after obtaining the consent

of the Debtor, and says as follows:

         1.     Chaim Levilev, (“Debtor” or “Mr. Levilev”) filed a Chapter 7 petition for relief on

July 26, 2024 (the “Case”). Gene T. Chambers was appointed Chapter 7 Trustee (the “Trustee” or

“Ms. Chambers”).

         2.     Debtor filed pro se, but is currently represented by counsel.

         3.     The time to file an adversary to object to the discharge of the Debtor originally

expired on December 24, 2024. The Trustee requested an extension until and including March 24,

2025, to file any adversary complaint under Section 727 of the Bankruptcy Code.

         4.     The Debtor and a creditor, subsequently, mediated a proposed settlement agreement

and moved for approval from this Court (Doc. No. 90).

         5.     The Trustee opposed the mediated settlement agreement. (Doc. No. 99).

         6.     The Court heard argument of Counsel regarding the settlement agreement on March

18, 2025, (Doc. No. 104) setting the issue for further consideration on April 29, 2025.
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        7.      Pursuant to Fed. R. Bankr. P. 4004(b), the Court, for cause, may extend the time for

filing a complaint objecting to Debtor’s discharge if the motion is filed prior to the expiration of the

deadline.

        8.      The Trustee and Debtor’s Counsel agree that an extension of time to file an adversary

complaint under 11 U.S.C. §727, through and including April 30, 2025, will not prejudice the Debtor

and will allow time for further consideration of the issues to occur.

        9.      Trustee Requests that the extension of time be granted not only to the Chapter 7

Trustee but also to the Office of the United States Trustee.

        10.     This motion is not made for the purpose of delay, but rather to allow the Trustee the

additional time necessary to reach a resolution of the issue at hand. Debtor’s Counsel has consented

to the extension of time. A proposed Agreed Order is attached and will be submitted for the Court’s

consideration contemporaneously with this motion. No party to this matter will be prejudiced by the

granting of this motion.

        11.     A hearing on this matter, if required, should take no longer than five minutes.

        WHEREFORE, the Trustee requests this court enter an Order extending the time to file an

adversary complaint objecting to the discharge of the Debtor under 11 U.S.C. §727 for the Trustee,

as well as, the Office of the United States Trustee until and including April 30, 2025, and other such

relief as the court deems just.

        Dated: March 24, 2025                   /s/ Cynthia E. Lewis, Esq.
                                                Cynthia E. Lewis, Esq.
                                                Florida Bar No.: 53076
                                                Nardella & Nardella, PLLC
                                                135 W. Central Blvd., Ste 300
                                                Orlando, FL 32801
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                                                Attorney for Trustee


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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that the foregoing Unopposed Motion to Extend Time to File an
Adversary Complaint Objecting to Discharge under 11 U.S.C. §727 was provided electronically, via
CM/ECF, or by regular U.S. Mail, Postage prepaid to the following on this 24th day of March, 2025:
Trustee: Gene T. Chambers, P.O. Box 533987, Orlando, FL 32853; Debtor: Chaim Levilev, 2
Whispering Pine Trail, Ormond Beach, FL 32074; Debtor’s Attorney: L. Todd Budgen, Budgen
Law, P.O. Box 520546, Longwood, FL 32752; and United States Trustee, George C. Young Federal
Building, 400 West Washington Street, Suite 1100, Orlando, FL 32801.
                                                    /s/ Cynthia E. Lewis
                                                    Cynthia E. Lewis




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                          UNITED STATES BANKRUPTCY COURT
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In re:

CHAIM LEVILEV,                                                6:24-bk-03843-LVV
                                                              Chapter 7
      Debtor.
________________________________/

                        AGREED ORDER GRANTING
               AN EXTENSION OF TIME TO FILE AN ADVERSARY
           COMPLAINT OBJECTING TO DISCHARGE UNDER 11 U.S.C. §727

         THIS CASE came before the Court without a hearing on a request to further extend the time

for the Chapter 7 Trustee or the United States Trustee to file an adversary complaint objecting to

discharge under 11 U.S.C. §727. The initial time was extended to and including March 24, 2025

by order of this Court dated January 24, 2025 (Doc. No. 80). The Court heard testimony regarding

the Debtor’s Motion to Approve Compromise of Controversy or Settlement Agreement (Doc. No.

90) on March 18, 2025. That issue was continued to a hearing date of April 29, 2025 (Doc. No.

104). The parties expect to engage in settlement discussions during the time between March 24,

2025 and April 29, 2025 which may resolve some of the issues supporting the filing of a §727

complaint. Therefore, the parties believe and agree that a further extension of time to file an

adversary complaint under 11 U.S.C. §727 to April 30, 2025 is in the best interest of the estate, the
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